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Robert A. Shlachter, OSB No. 91171
Email: rshlachter@ssbls.com § §
Timothy S. DeJong, OSB No. 94066 (`:U/
Email: tdejong@ssbls.com `-1-=;;=»’* §}§ff_`j :__’__;~§ § § ,,,_¥,,-F
Jacob S. Gill, OSB NO. 03323 "’ ““" ‘"

Email: j gill@ssbls.com

STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
209 S.W. Oak Street, Fifth Floor

Portland, Oregon 97204

Telephone: (503) 227-1600

Facsimile: (5()3) 227-6840

William O. Geny, OSB No. 83040

Email: bill@chernofflaw.com

CHERNOFF VILHAUER MCCLUNG & STENZEL LLP
601 SW z“d Avenue, Sre. 1600

Portland OR 97204

Telephone: (5()3) 227-5631

Facsimile: (503) 228-4373

Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF OREGON

JOHN R. JAMISON,

Case No. 3-03-01036-KI (Lead Case)

Plaintiff(S),
v.
SETTLEMENT ORDER

OLIN CORPORATION-WINCHESTER AND DISMISSAL
DIVISION; U.S. REPEATING ARMS
CO., INC,; BROWNING; BROWNING
ARMS CO.; and G.l. JOE’S, INC.,

Defendants.

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STOLL STOLL BERNE LOKTING & SHLACHTER P.C.
209 S.W. OAK STREET
PORTLAND, OREGON 97204

.':ODMA \GRP WlSE\SSBLS¢Domain./’O§PDX. Clients3.'83073.3 TEL~ (503) 227'1609 FAX (593) 227'6340

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Pursuant to the Stipulated Motion for Entry of Settlement Order and Dismissal executed
by all parties, IT IS HEREBY ORDERED as follows:

l. This Settlement Order and Dismissal is subject to all terms of the Confidential
Settlement Agreement dated as of November 1, 2005 (the “Agreement”), entered into between
the parties.

2. The issues of validity, enforceability and infringement of U.S. Patent Nos.
6,550,174; 6,595,138; 6,675,717; and 6,678,983 (the “Patents in Suit”) are hereby finally
concluded and disposed of in accordance with the terms of the Agreement.

3. Claim One (Patent lnfringement) of Plaintiff’s Second Amended Consolidated
Complaint is hereby dismissed without prejudice; Claims Two through Eight of Plaintiff’ s
Second Amended Consolidated Complaint are hereby dismissed with prejudice; and all
counterclaims asserted by any defendant in this case are hereby dismissed with prejudice.

4. This Court retains jurisdiction over all the parties and for all disputes between the
parties to enforce or interpret the Agreement or any exhibits thereto or relating in any way to the
Patents in Suit.

5. This Settlement Order and Dismissal is without fees or costs to any party.

lT IS SO ORDERED.

B law
Dated this 4 day of Ne¥ember, 2005.

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Garr‘M. King
United States District Judge

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.-:ODMA \GRPWISE\SSBLS§Domam.FOrPDX. Clienrs3:83073.3 TEL- (503) 227»1600 FAX (503) 227»6840

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CERTIFICATE OF SERVICE

I hereby certify that l caused to be served the foregoing SETTLEMENT ORDER AND
DISMISSAL on the following named person(s) on the date indicated below,

[X] By Email and Regular Mail

to said persons a true copy thereof, addressed to said persons at their last known addresses

indicated below,

Robert E. Sabido

Cosgrave Vergeer & Kester
805 sw Broadway, 8"’ Floor
Portland, OR 97205

Facsimile: 503/323-9019
E-l\/Iail: rsabido@ch-law.com

Stephen D. Gay

Husch & Eppenberger, LLC
736 Georgia Avenue, Suite 300
Chattanooga, Tennessee 37402
Facsimile: 423/66-5499
E-Mail: steve.gay@husch.com

Dutro E. Campbell, II

Gregory E. Upchurch

Husch & Eppenberger, LLC

190 Carondelet Plaza, Suite 600

St. Louis, MO 63105

Facsimile: 314/480-1505

Email: bruce.campbell@husch.com

Attorneys for Olin Corporation, Inc.

and G.I. Joe’s, Inc.

DATED this lst day of December 2005.

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Jeffrey A. Ryva

Husch & Eppenberger, LLC
401 Main Street, Suite 1400
Peoria, lllinois 61602
Facsimile: 309/637-4928
Email: jeff.ryva@husch.com

Attorneys for Olin Corporation,
Inc. and G.I. Joe’s, Inc.

Jeffrey S. Love

Klarquist Sparkman LLP

121 SW Salmon St., Suite 1600
Portland, OR 97204

Facsimile: 503/228-9446

E-Mail: jeffrey.love@klarquist.com

Brett Foster

James R. Farmer

Holland & Hart LLP

60 East South Temple, Suite 2000,
Salt Lake City, Utah 84111-1031
Facsimile: 801/364-9124

E-mail: bfoster@hollandhart.com

Attorneys for Browning,

Browning Manufacturing, Inc., and
Browning Arms Co., and U.S.
Repeating Arms

ELOKT G ' LACHTER P.C.

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Ro err A. Shlacht€r, osB/N<f.`§i 17‘1’
mothy S. DeJong, OSB No. 94()66
Jacob S. Gill, OSB No. 03323
Jennifer A. Wagner, OSB No. 02447
Telephone: (503) 227-1600

Facsimile: (503) 227-6840

Attorneys for Plaintiff John R. Jamison

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STOLL STOLL BERNE LOKTING & SHLACHTER P.C.

K.'1W[)()X\Mam[)oc.v17339\()()[`:()()07448~/.[)0(,'

209 S.W. OAK STREET 7339-001
PORTLAND, OREGON 97204

TEL. (503) 227-1600 FAX (503) 2276840

